         Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 1 of 13




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA    :
                            :                        Case No. 1:21-CR-00552 (DLF)
    v.                      :
                            :
KENNETH JOSEPH OWEN THOMAS, :
                            :
         Defendant.         :

    GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION IN LIMINE TO
               PRECLUDE USE OF CERTAIN LANGUAGE

       Defendant Kenneth Joseph Owen Thomas, who is charged in connection with events at the

U.S. Capitol on January 6, 2021, requests that the Court preclude the government’s use of the

words “rioters,” “breach, “confrontation,” “antigovernment extremism,” “insurrectionists,” and

“mob.” ECF No. 41 at 1. The defendant further “seeks to limit the government from referencing

Mr. Thomas as an ‘[a]nti-government extremist’ or utilizing captions on photos, videos, or exhibits

referencing the same.” Id. The defendant seeks to exclude these words and phrases on two grounds:

(1) that these words and others like them are hearsay and opinion testimony, and (2) that these

words and phrases are prejudicial under Fed. R. Evid. 403. In reality, the defendant’s motion in

limine asks that the Court prevent the government from using language and evidence that

accurately establishes and describes the defendant’s crimes. Accordingly, the Court should deny

his motion.

                                        BACKGROUND

       On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. While the certification process was proceeding, a large crowd gathered

outside the United States Capitol, entered the restricted grounds, and forced entry into the Capitol
         Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 2 of 13




building. As a result, the Joint Session and the entire official proceeding of the Congress was

halted until law enforcement was able to clear the Capitol of hundreds of unlawful occupants and

ensure the safety of elected officials.

       The defendant played a unique leadership role both prior to the riot and as the riot grew

increasingly violent. Operating under the alias of “Pi Anon,” the defendant personally organized

and led a “MAGA caravan” of vehicles, which the defendant referred to as the “Midnight Riders.”

The caravan drove from Alabama to Washington, D.C. to attend the “Stop the Steal” rally on

January 6, 2021. After attending that rally at the Ellipse, the defendant proceeded with his wife

and child to march down Pennsylvania Avenue in the direction of the Capitol Building. As the

crowd outside the Capitol, including defendant, grew increasingly violent towards the United

States Capitol Police (hereinafter, “USCP”) and Washington, D.C., Metropolitan Police

Department (hereinafter, “MPD”), the defendant’s wife and child decided to leave the scene. But

the defendant forged on.

       After the rioters breached the police line on the West Front of the Capitol at approximately

2:28pm, the defendant continued to advance towards the Capitol, ultimately coming face to face

with police officers attempting to regain control of the Capitol building, which had been breached

by a mob of violent rioters. Rather than heed officers’ warnings to leave the scene, the defendant,

from approximately 3:30pm to 4:30pm, proceeded to lead a barrage of assaults on no less than five

different police officers. Indeed, at approximately 3:30pm, the defendant assaulted multiple MPD

officers on the Senate side of the West Front of the Capitol by, twice, running up a short flight of

stairs and throwing his body and hands into the officers. Even after these assaults, the defendant

can be seen on those officers’ body worn camera continuing to stand near the bottom of those

stairs; at the same time, he can heard be yelling:



                                                     2
         Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 3 of 13




           •   “Police stand down!”
           •   “We want freedom! We want peace!”
           •   “Police stand down!”
           •   “This is our house!”

       Approximately one hour later, around 4:30pm, the defendant continued assaulting

additional officers, this time from the Prince George’s County Police Department (“PG County

PD”). PG County PD had been summoned from across the Potomac to assist with the on-going

crisis at the Capitol after MPD and USCP were being overwhelmed by the violent and unrelenting

conduct of the rioters, including that of the defendant. Not only did the defendant participate in the

violence, but he acted as a ringleader: always appearing at the front of the line against police, the

defendant consistently called out to his fellow rioters to hold the line, gave them instructions to

turn their backs to the line of officers as they attempted to advance against the police line, and

ordered the rioters when and where to assault the police. Ultimately, the defendant did not enter

the Capitol and was forced from the restricted area around the Capitol by MPD, USCP, the

reinforcing police departments from other jurisdictions, and the D.C. National Guard.

       Based on his actions on January 6, 2021, the defendant was charged on December 13, 2022,

in a Second Superseding Indictment, with Obstruction of Law Enforcement During a Civil

Disorder, in violation of 18 U.S.C. §§ 231(a)(3) (Count 1); and Obstruction of an Official

Proceeding and Aiding and Abetting, in violation of 18 U.S.C. §§ 1512(c)(2) and 2 (Count 2); five

felony counts related to Assaulting, Resisting, or Impeding Certain Officers in violation of 18

U.S.C. §§ 111(a)(1) (Counts 3, 4, 5, 6, and 7); three counts relating to disorderly conduct and

violence in a restricted building or grounds, in violation of 18 U.S.C. § 1752(a)(1), (2), and

(4) (Counts 8, 9, and 10); and two misdemeanor counts relating to disorderly conduct and violence

in a Capitol building or grounds, in violation of 40 U.S.C. § 5104(e)(2)(D) and (F). ECF No. 49.



                                                  4
         Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 4 of 13




                                           ARGUMENT

I.     The Words that the Defendant Seeks to Exclude are Not Unduly Prejudicial and
       Fairly Describe Defendant’s Conduct at the Capitol on January 6, 2021.

       A. The government need not dilute its language or rely on euphemisms to describe the riot
          at the Capitol or the defendant’s individual violent conduct.

       The defendant has failed to present any persuasive arguments as to how words and phrases

that accurately describe his relevant conduct during the events of January 6 would prejudice him.

Evidence is relevant if “it has any tendency to make a fact more or less probable than it would be

without the evidence; and the fact is of consequence in determining the action.” Fed. R. Evid. 401.

“The general rule is that relevant evidence is admissible,” United States v. Foster, 986 F.2d 541,

545 (D.C. Cir. 1993), which is a “liberal” standard, United States v. Moore, 18-CR-198, 2022 WL

715238, at *2 (D.D.C. Mar. 10, 2022). Additionally, Rule 403 does not require the government

“to sanitize its case, to deflate its witnesses’ testimony or to tell its story in a monotone.” United

States v. Gartmon, 146 F.3d 1015, 1021 (D.C. Cir. 1998). Neither Rule 401 nor 403 supports the

defendant’s requested relief.

       First, the defendant argues that the Court should bar terms like “‘[r]ioters,’ ‘[b]reach,’

‘[c]onfrontation,’ ‘[a]nti-government [e]xtermism,’ ‘insurrectionists,’ and ‘mob[.]’” ECF No. 41

at 1. The defendant does not state at any point in his motion how these words would unduly

prejudice the jury against the defendant or be otherwise impermissible under Fed. R. Evid. 403.

Evidence or language is unfairly prejudicial if it has “an undue tendency to suggest decision on an

improper basis, commonly, though not necessarily, an emotional one.” United States v. Sanford

Ltd., 878 F. Supp. 2d 137, 143 (quoting Fed. R. Evid. 403, advisory committee’s note). By their

very nature, criminal charges involve an accusation that someone has wronged another person or

has wronged society. Accordingly, such charges arouse emotion—and there is nothing improper



                                                  5
         Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 5 of 13




about that. Indeed, while cautioning against prosecutorial misconduct in United States v. Berger,

the Supreme Court simultaneously recognized that “[t]he United States Attorney . . . may prosecute

with earnestness and vigor—indeed, he should do so.” Berger, 295 U.S. 78, 88 (1935). “[T]he

law permits the prosecution considerable latitude to strike ‘hard blows’ based on the evidence and

all reasonable inferences therefrom.” United States v. Rude, 88 F.3d 1538, 1548 (9th Cir. 1996)

(quoting United States v. Baker, 10 F.3d 1374, 1415 (9th Cir. 1993)). When a prosecutor’s

comments fairly characterize the offense, fairly characterize the defendant’s conduct, and represent

fair inferences from the evidence, they are not improper. Cf. Rude, 88 F.3d at 1548 (the use of

words like victim, deceit, outlandish, gibberish, charlatan, and scam was not improper); Guam v.

Torre, 68 F.3d 1177, 1180 (9th Cir. 1995) (“[T]here is no rule [of evidence or ethics] requiring the

prosecutor to use a euphemism for [a crime] or preface it by the word ‘alleged.’”).

       Here, the government should not be required to dilute its language and step gingerly around

the defendant’s crimes. Contrary to the defendant’s insinuations, what took place on

January 6, 2021 was, in fact, a riot involving rioters, and an attack on the United States Capitol,

the government of the United States, and American democracy. Indeed, after carefully considering

the facts of other January 6 cases, many other members of this Court have recognized the riot as

just such an attack. See, e.g., United States v. Rubenacker, 21-CR-193 (BAH), Sent. Tr. at 147–

48, May 26, 2022 (describing the defendant as “part of this vanguard of people storming the

Capitol Building” as part of the initial breach, and finding that his conduct “succeeded, at least for

a period of time, in disrupting the proceedings of Congress to certify the 2020 presidential

election”); United States v. Mostofsky, 21-CR-138 (JEB), Sent. Tr. at 40–41, May 6, 2022

(describing the riot as an “attack,” describing the Capitol as “overrun,” and describing Mostofsky

and other rioters as engaged in “an attempt to undermine [our] system of government.”); United



                                                  6
         Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 6 of 13




States v. Languerand, 21-CR-353 (JDB), Sent. Tr. at 33–34, January 26, 2022 (“[T]he effort

undertaken by those who stormed the Capitol . . . involved an unprecedented and, quite frankly,

deplorable attack on our democratic institutions, on the sacred ground of the United States Capitol

building, and on the law enforcement officers who were bravely defending the Capitol and those

democratic values against the mob of which the defendant was a part.”). None of this language is

hyperbole; rather, these findings used vivid and violent language because they described a visceral

and violent event.     So, too, will prosecutors need to use appropriate language—and not

euphemisms—to describe the nature and gravity of the defendant’s conduct.

       To that end, the government’s evidence will demonstrate how the mob’s concerted efforts

disrupted Congress. Like the defendant, none of the rioters were authorized to enter the restricted

area around the Capitol or the Capitol itself. Law enforcement officer witnesses will explain that,

in expelling rioters from both the Capitol and the surrounding area, they could not distinguish

between those rioters who were overtly violent, such as the defendant, and those who were not:

everyone had to leave. That is because law enforcement could not predict who would act violently;

any member of the crowd might have been ready to assault individual officers or to violently resist

the officers’ efforts to secure the Capitol, just as the defendant did five separate times. But for the

defendant’s actions alongside so many others, the riot likely would have failed to delay the

certification vote. See United States v. Mazzocco, 21-CR-54, Tr. 10/4/2021 at 25 (“A mob isn’t a

mob without the numbers. The people who were committing those violent acts did so because they

had the safety of numbers.”) (statement of Judge Chutkan). While a jury will judge the defendant

based on his own actions, the context of the defendant’s actions will necessarily be placed before

them—that context was a violent riot. Ultimately, the defendant provides no legal authority in

support of his broad claim that witnesses and government prosecutors must only describe these



                                                  7
         Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 7 of 13




events using euphemistic or diluted words and with willful ignorance to all relevant contextual

information.

       B. Any evidence presented regarding the defendant’s “anti-government” views will fall
          squarely within the bounds of the Federal Rules of Evidence.

           1. The government does not intend to have any witness testify that the defendant is an
              “anti-government extremist” or to label him as such during argument.

       The defendant spends a substantial portion of his motion seeking to preclude the

government from using the term “anti-government extremist.” See ECF No. 41 at 2-4. The

government does not intend to use the phrase “anti-government extremist” in reference to the

defendant during the presentation of its case. But, considering the defendant’s conduct on January

6, 2021, the government is well within the permissible boundaries of Rules 401 and 403 to

introduce evidence about the defendant’s anti-government views and the actions he took in

furtherance of those views on January 6. To be sure, any such aspects of the government’s case

would need to be “accurate and nonprejudicial[,]” United States v. Fahnbulleh, 752 F.3d 470, 479

(D.C. Cir. 2014), and require “a sufficient foundation[,]” United States v. Mitchell, 816 F.3d 865,

877 (D.C. Cir. 2016). The defendant does not, and cannot, substantiate his contention that the

government could not present such information appropriately. Similarly, the government will not

present evidence that places the defendant’s character at issue or places him on trial for his entire

life. Fed. R. Evid 404.

           2. Neither Fed. R. Evid. 404 nor any other rule of evidence prohibits evidence related
              to the defendant’s anti-government views because they prove his intent.

       The government should not be precluded from using the defendant’s own words—

including those that the defendant said, recorded, and uploaded to the Internet both before and

after January 6—to prove his intent that day. “The Federal Rules of Evidence generally favor the

inclusion rather than the exclusion of evidence.” United States v. Thomas, 987 F.3d 697, 706 (11th

                                                 8
         Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 8 of 13




Cir. 1993). At trial, to prove a violation of 18 U.S.C. § 1512(c)(2), the government will be required

to prove beyond a reasonable doubt that the defendant “obstruct[ed], influence[d], or impede[d],”

an official proceeding, or attempted to do so, and that he did so “corruptly.” 18 U.S.C. §

1512(c)(2). To prove a defendant acted “corruptly” for purposes of Section 1512(c)(2), the

government must prove the defendant: acted (1) with intent to obstruct, impede, or influence; and

(2) wrongfully. See United States v. Reffitt, 21-CR-32 (DLF), Final Jury Instructions, ECF No.

119, 25-26; see also United States v. Friske, 640 F.3d 1288, 1291 (11th Cir. 2011) (to act

“corruptly” is to act “with an improper purpose” and “with the specific intent to subvert, impede

or obstruct”) (quoting United States v. Mintmire, 507 F.3d 1273, 1289 (11th Cir. 2007)); United

States v. Gordon, 710 F.3d 1124, 1151 (10th Cir. 2013) (same); United States v. Watters, 717 F.3d

733, 735 (9th Cir. 2013) (upholding jury instruction defining “corruptly” as acting with

“consciousness of wrongdoing”) (internal quotation marks omitted); United States v. Matthews,

505 F.3d 698, 705 (7th Cir. 2007) (upholding instruction defining “[c]orruptly” as acting “with the

purpose of wrongfully impeding the due administration of justice”).

       To prove that an attempted or actual obstruction of a congressional proceeding amounts to

felony obstruction in violation of 18 U.S.C. § 1512(c)(2), the government must therefore adduce

evidence establishing beyond a reasonable doubt that a defendant acted intentionally and with

“consciousness of wrongdoing.” Arthur Andersen LLP v. United States, 544 U.S. 696, 706 (2005).

To prove a violation of Section 1512(c)(2), the government must also satisfy a “nexus”

requirement, namely, that the defendant “contemplated a particular, foreseeable proceeding, and

that the contemplated proceeding constituted an official proceeding.” United States v. Young, 916

F.3d 368, 386 (4th Cir. 2019) (internal quotation marks omitted). “‘[T]he nexus limitation is best

understood as an articulation of the proof of wrongful intent that will satisfy the mens rea



                                                 9
         Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 9 of 13




requirement of “corruptly” obstructing or endeavoring to obstruct’—that is, the first element of

proving a § 1512(c)(2) charge.” Id. at 385 n.12 (quoting United States v. Erickson, 561 F.3d 1150,

1159 (10th Cir. 2009)).

       As noted above, “[e]vidence is relevant if: (a) it has any tendency to make a fact more or

less probable than it would be without the evidence; and (b) the fact is of consequence in

determining the action.” Fed. R. Evid. 401. “[T]here is no such thing as ‘highly relevant’ evidence

or ... ‘marginally relevant’ evidence. Evidence is either relevant or it is not.” Foster, 986 F.2d at

545. Intent may be inferred from defendant’s own statements. Kawakita v. United States, 343

U.S. 717, 742 (1952). Therefore, insofar as the defendant’s substantial digital footprint contains

evidence of the defendant’s anti-government views, including the defendant’s own statements,

Rule 401 permits the government to introduce those statements to prove the nexus between the

defendant’s mens rea in going to the Capitol and actus reus in joining the assaultive mob. Young,

916 F.3d at 386. That such evidence is powerful and makes it more likely that the defendant will

be found guilty does not make it unfairly prejudicial, and is an insufficient basis to withhold it

from the jury. Fed. R Evid. 403; see also United States v. Cassell, 292 F.3d 788, 796 (D.C. Cir.

2002) (quoting Dollar v. Long Mf’g, N.C., Inc., 561 F.2d 613, 618 (5th Cir. 1977) for the

proposition that “[v]irtually all evidence is prejudicial or it isn’t material. The prejudice must be

“unfair.”)

II.    The Defendant’s Other Arguments are Unavailing.

               A. Defendant’s hearsay and opinion testimony arguments are borrowed nearly
                  verbatim from the Reffit case and are both inapposite and premature.

       Defendant’s hearsay and opinion testimony arguments appear to be extracted nearly

verbatim from a defense motion this Court denied as moot in United States v. Reffitt, 21-CR-0032

(DLF). See ECF Nos. 63 (Reffit Motion) at 1-2, 90 (Minute Order denying motion). The defense

                                                 10
         Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 10 of 13




in Reffitt filed that particular motion in limine to object to the government’s proposed file names

for various pieces of digital video evidence. The parties resolved the conflict regarding those words

and file names by simply changing the file names to reflect the date and time of the video rather

than describing the evidence. See Reffitt, ECF No. 72.

       In contrast to Reffit, here, the defendant is objecting to some hypothetical government

witness hypothetically using these terms in his or her hypothetical testimony (or, potentially, in a

hypothetical government electronic file name). Instead, to avoid the issue encountered by the

parties in Reffit and to further avoid any waste of additional court resources, the government will

endeavor to name its exhibits in a manner similar to those that passed muster in Reffitt, and if the

defense has issues with our exhibit names, it can object after receiving our list. For these reasons,

the defendant’s arguments fail and the court should not consider them further.

               B. Defendant’s hearsay and opinion testimony arguments also fail on the merits.

       However, if the Court proceeds to analyze defendant’s arguments further, they fail on the

merits. Initially, Defendant argues that the government’s use of the words “rioters,” “breach,

“confrontation,” “antigovernment extremism,” “insurrectionists,” and “mob,” “if included on a

video, photo, or other evidence, are testimonial and therefore cause a Confrontation Clause

problem.” ECF No. at 2. Defendant is mistaken. These words and phrases, whether used

extemporaneously and captured in open-source and police video from the day of January 6, or

whether used by the government in its presentation of evidence at trial, are not testimonial and

do not create Confrontation Clause issues: they were not used during police interrogation of the

defendant “to establish or prove past events potentially relevant to later criminal prosecution.”

See, e.g., Davis v. Washington, 547 U.S. 813, 822 (2006) (“Statements are nontestimonial when

made in the course of police interrogation under circumstances objectively indicating that the



                                                 11
         Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 11 of 13




primary purpose of the interrogation is to enable police assistance to meet an ongoing emergency.

They are testimonial when the circumstances objectively indicate that there is no such ongoing

emergency, and that the primary purpose of the interrogation is to establish or prove past events

potentially relevant to later criminal prosecution.”).

       Furthermore, these words and phrases, when captured in videos, photos, or other evidence,

are also not hearsay. If the words and phrases were used by the defendant himself and are offered

for their truth, they constitute an opposing party’s statement that the government may offer freely

as evidence against the defendant. See Fed. R. Evid. 801(d)(2)(A), (B). If offered for their truth

and used by any of defendant’s compatriots in the mob or police or other law enforcement on the

day of January 6, these words and phrases constitute present sense impressions, excited utterances,

and/or descriptions of then-existing mental, emotional, and physical conditions. See Fed. R. Evid.

803(1)-(3). If used by the government in its presentation of evidence at trial, be it in opening or

closing statements, by a summary witness, or in a January 6 montage video, for example, these

words and phrases constitute legal argument or are otherwise useful and reliable, given they “help

the jury organize and evaluate evidence which is factually complex and fragmentally revealed in

the testimony of a multitude of witnesses throughout the trial.” United States v. Lemire, 720 F.2d

1327, 1348 (D.C. Cir. 1983); see also United States v. Colon-Maldonado, 953 F.3d 1, 11 (1st Cir.

2020) (collecting cases where courts have “dubbed” other out-of-court statement evidence reliable,

including evidence of statements in 911 calls, evidence of surveillance video that “corroborated

the victim’s account of the incident (as related to [the testifying police officer]),” and evidence of

informants’ statements that “were detailed, mutually corroborative on key points, and compatible

with the events surrounding [the defendant’s] arrest”). Therefore, their use is permissible.




                                                 12
        Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 12 of 13




       Finally, defendant’s argument—that these words, as used, constitute “unhelpful” opinion

testimony—has been rejected by other courts in this District. See, e.g., U.S. v. Rahm, 21-cr-150

(TJH), ECF No. 45 (Minute Entry Order). As noted above, what took place at the Capitol on

January 6, 2021 may be properly described as extreme, or as a riot, breach, confrontation, assault,

insurrection, or mob. Thousands of people forced their way into the Capitol building during the

constitutionally mandated process of certifying the Electoral College votes, threatened the peaceful

transfer of power after the 2020 presidential election, injured more than one hundred law

enforcement officers, and caused more than two million dollars in damage and loss. This was not

a protest. See United States v. Paul Hodgkins, 21-cr-188-RDM, Sentencing Tr. at 46:18-20

(“I don’t think that any plausible argument can be made defending what happened in the Capitol

on January 6th as the exercise of First Amendment rights.”) (statement of Judge Moss).

       At trial, the government intends to present witnesses who will testify based on their

experiences and perceptions, which the jury may consider in judging the defendant’s actions in

context. In this case, the context was a riot. Moreover, defendant’s reliance on United States v.

Garcia-Zarate, 419 F. Supp. 3d 1176 (N.D. Cal. 2020) is inapposite. The court there permitted

witnesses to “narrate and describe events in a video based on their own perceptions,” but precluded

the use of “superimposed photos, labels, or comments.” Id. at 1178-79. Here, the government

does not intend to use “labels” or “comments” to describe events, but witnesses and evidence that

will speak for themselves. For these additional reasons, defendant’s motion should be denied.




                                                13
 Case 1:21-cr-00552-DLF Document 53 Filed 01/06/23 Page 13 of 13




                                CONCLUSION

For the reasons stated above, the defendant’s motion should be denied.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                             By:            /s/ Sean P. McCauley
                                            SEAN P. McCAULEY
                                            Assistant United States Attorney
                                            New York Bar No. 5600523
                                            United States Attorney’s Office
                                            For the District of Columbia
                                            601 D Street, NW 20530
                                            Sean.McCauley@usdoj.gov

                                            /s/ Samantha R. Miller
                                            SAMANTHA R. MILLER
                                            Assistant United States Attorney
                                            New York Bar No. 5342175
                                            United States Attorney’s Office
                                            For the District of Columbia
                                            601 D Street, NW 20530
                                            Samantha.Miller@usdoj.gov




                                       14
